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Figure 1: Statement of Facts for Blake Austin Reed.




Figure 2: Statement of Facts for Jack Jesse Griffith.




Figure 3: Statement of Facts for Eric Torrens.
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Figure 4: Statement of Facts for Matthew Bledsoe.




Figure 5: Statement of Facts for Emanuel Jackson.




Figure 6: Statement of Facts for Robert Sanford.
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Figure 7: Statement of Facts for Peter Francis Stager.




Figure 8: Statement of Facts for Paul Westover.




Figure 9: Statement of Facts for Nicolas Anthony Moncada.
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Figure 10: Statement of Facts for Samuel Camargo.




Figure 11: Statement of Facts for Leo Christopher Kelly.
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Figure 12: Statement of Facts for Kevin Daniel Loftus.




Figure 13: Statement of Facts for Joshua Wagner and Israel Tutrow.




Figure 14: Statement of Facts for Joshua Lollar.
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Figure 15: Statement of Facts for Joshua and Jerod Hughes.




Figure 16: Statement of Facts for Jose Padilla.
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Figure 17: Statement of Facts for Leo Brent Bozell.




Figure 18: Statement of Facts for Jordan Revlett.
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Figure 19: Statement of Facts for Jason Riddle.




Figure 20: Statement of Facts for James Bonet.
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Figure 21: Statement of Facts for Jacob Lewis.




Figure 22: Statement of Facts for Jeffrey Alexander Smith.
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Figure 23: From John Lolos Statement of Facts.




Figure 24: Affidavit In Support of Arrest Warrant for Mark Squatrito.




Figure 25: Statement of Facts for Hunter Ehmke.
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Figure 26: Statement of Facts for Jacob Chansley.




Figure 27: Statement of Facts for Richard Barnett.




Figure 28: Statement of Facts for Mark Jefferson Leffingwell.
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Figure 29: Statement of Facts for Cindy Fitchett, Michael Curzio, Douglas Sweet, Terry Brown, Bradley Rukstales, and
Thomas Gallgher.




Figure 30: Statement of Facts for Matthew Ross.
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Figure 31: Statement of Facts for Justin McAuliffe.




Figure 32: Statement of Facts for Matthew Bledsoe.
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Figure 33: Statement of Facts for Thomas Fee.




Figure 34: Affidavit in Support of Arrest for Rachel Myers and Michael Gianos.
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Figure 35: Statement of Facts for Michael James Dickinson.




Figure 36: Statement of Facts for Edward McAlanis.




Figure 37: Statement of Facts for Christopher Ortiz.
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Figure 38: Statement of Facts for Garret Miller.




Figure 39: Statement of Facts for James Douglas Rahm.
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Figure 40: Statement of Facts for James Douglas Rahm III.




Figure 41: Statement of Facts for Couy Griffin.
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Figure 42: Statement of Facts for Vitali Gossjankowski.




Figure 43: Statement of Facts for Joshua Pruitt.




Figure 44: Statement of Facts for Elias Costianes.
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Figure 45: Statement of Facts for Douglas Austin Jensen.




Figure 46: Statement of Facts for Timothy Hale Cusanelli.




Figure 47: Statement of Facts for Jeremy Vorous.
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Figure 48: Statement of Facts for Jerry and Mark Waynick.




Figure 49: Statement of Facts for Jon Ryan Schaffer.




Figure 50: Statement of Facts for Julian Khater and George Tanios.
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Figure 51: Statement of Facts for Kash Lee Kelly.




Figure 52: Statement of Facts for Kenneth Joseph Owen Thomas.




Figure 53: Statement of Facts for Dominick Madden.
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Figure 54: Statement of Facts for Aaron Mostofsky




Figure 55: Statement of Facts for Nicholas Brockhoff.
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Figure 56: Statement of Facts for William Pepe.




Figure 57: Statement of Facts for Rachel Pert and Dana Winn.
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Figure 58: Statement of Facts for Tam Dinh Pham.




Figure 59: Statement of Facts for Philip Weisbecker.
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Figure 60: Statement of Facts for Reed Christensen.




Figure 61: Statement of Facts for Nicholas Burton Reimler.




Figure 62: Statement of Facts for Tyler Ethridge.
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Figure 63: Statement of Facts for William Vogel.




Figure 64: Statement of Facts for Annie Howell.
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Figure 65: Statement of Facts for Antionne Brodnax.




Figure 66: Statement of Facts for Katelyn Bartow.
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Figure 67: Statement of Facts for Daniel Ray Caldwell.




Figure 68: Statement of Facts for Nicholas DeCarlo.




Figure 69: Statement of Facts for Christopher Alberts.
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Figure 70: Statement of Facts for Robert Ballesteros.




Figure 71: Statement of Facts for Brandon Fellows.




Figure 72: Statement of Facts for Rebecca Lavrenz.
      Case 1:21-cr-00128-RC                 Document 252-1   Filed 05/03/24   Page 30 of 30




Figure 73: Statement of Facts for Matthew Ryan Miller.




Figure 74: Statement of Facts for Joshua John Portlock.
